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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

RYAN CHAPMAN,

       Plaintiff,
                                              Case No:     8:22-cv-2616
       v.

ADVANCED PORTFOLIO GROUP,
LLC, HUNTINGTON DEBT
                                                      JURY TRIAL DEMANDED
HOLDING, LLC, ALLIANT CAPITAL
MANAGEMENT, LLC, and ORION
CAPITAL SOLUTIONS, LLC,

       Defendants.

                    COMPLAINT & DEMAND FOR JURY TRIAL

      COMES NOW the Plaintiff, Ryan Chapman (“Mr. Chapman”), by and

through his attorneys, Seraph Legal, P.A., and complains of the Defendants,

Advanced Portfolio Group, LLC, (“Advanced”), Huntington Debt Holding, LLC,

also known as Huntington Debt Holdings, LLC (“Huntington”), Alliant Capital

Management, LLC (“Alliant”), and Orion Capital Solutions, LLC (“Orion”),

(collectively, the “Defendants”), stating as follows:

                           PRELIMINARY STATEMENT

      1.     This is an action brought by Mr. Chapman against Huntington and

Orion for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

(“FDCPA”), and against all Defendants for violations of the Florida Civil Remedies


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for Criminal Practices Act, Fla. Stat. § 772.101, et seq. (“CRCPA”), and the Florida

Consumer Collection Practices Act, Fla. Stat. § 559.55, et seq. (“FCCPA”).

                          JURISDICTION AND VENUE

      2.     Subject matter jurisdiction for Plaintiff’s federal claims arises under

the FDCPA, 15 U.S.C. 1692k(d), and 28 U.S.C. § 1331, as the FDCPA is a federal

statute.

      3.     This Court has supplemental jurisdiction for Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367.

      4.     Venue is proper in the Middle District of Florida, pursuant to 28

U.S.C. § 1391(b), because the events giving rise to this cause of action occurred

within Florida, including in this District and Division.

                                       PARTIES

                                   Mr. Chapman

      5.     Mr. Chapman is a natural person residing in the City of Tampa,

Hillsborough County, Florida.

      6.     Mr. Chapman is a “Consumer” as defined by the FDCPA and the

FCCPA, 15 U.S.C. § 1692a(3) and Fla. Stat. § 559.55(8), respectively.

                                     Advanced

      7.     Advanced is a New York limited liability company with a principal

address of 1965 Sheridan Drive, Suite 300, Buffalo, NY 14223.


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      8.    Advanced is registered to conduct business in the State of Florida,

where its Registered Agent is CT Corporation System, 1200 S. Pine Island Rd.,

Plantation, FL 33324.

      9.    Advanced is registered with the Florida Office of Financial Regulation

as a Consumer Collection Agency (“CCA”) and holds Florida CCA license number

CCA9904370.

                                   Huntington

      10.   Huntington is a New York limited liability company with a principal

address of 1965 Sheridan Drive, Suite 200, Buffalo, NY 14223.

      11.   Huntington is registered to conduct business in the State of Florida,

where its Registered Agent is CT Corporation System, 1200 S. Pine Island Rd.,

Plantation, FL 33324.

      12.   Huntington is registered with the Florida Office of Financial

Regulation as a CCA and holds license number CCA9904192.

                                     Alliant

      13.   Alliant is a New York limited liability company with a principal

address of 1965 Sheridan Drive, Suite 100, Buffalo, NY 14223.

      14.   Alliant is registered to conduct business in the State of Florida, where

its Registered Agent is CT Corporation System, 1200 S. Pine Island Rd., Plantation,

FL 33324.


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         15.   Alliant is registered with the Florida Office of Financial Regulation as

a CCA and holds license number CCA9903253.

                                         Orion

         16.   Orion is a New York limited liability company with a principal

address of 1971 Abbott Rd., Suite 10, Lackawanna, NY 14218.

         17.   Orion’s is registered to conduct business in the State of Florida, where

its Registered Agent is URS Agents, LLC, 3458 Lakeshore Dr., Tallahassee, FL

32312.

         18.   Orion is registered with the Florida Office of Financial Regulation as

a CCA and holds license number CCA9904214.

         19.   As licensed CCAs, the Defendants know or should know their

obligations under the FDCPA and the FCCPA.

         20.   The Defendants are debt collectors within the meaning of both the

FDCPA, 15 U.S.C. § 1692a(6), and the FCCPA, Fla. Stat. § 559.55(7), in that they use

instrumentalities of commerce, including postal mail, telephone, the internet,

and/or e-mail, interstate and within the State of Florida, for their businesses, the

principal purposes of which are the collection of debts, and/or they regularly

collect or attempt to collect, debts owed or due or asserted to be owed or due

another.




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                          FACTUAL ALLEGATIONS

                                    The Debt

      21.   Around December 11, 2019, Mr. Chapman obtained a $2,500 line of

credit from CreditFresh (the “CreditFresh Account” or “Account”). SEE

PLAINTIFF’S EXHIBIT A.

      22.   The effective interest rate on the Account was at least 150% annually.

Id.

      23.   Mr. Chapman made several payments on the Account, up to June

2020, when he was no longer able to keep up with the excessive fees and interests

charged monthly.

      24.   By June 2020, CreditFresh claimed Mr. Chapman now owed $2,587.06

(the “Debt”).

      25.   Mr. Chapman used the proceeds from the CreditFresh Account to

make personal and household purchases.

      26.   The Debt thus meets the definitions of Debt under the FCCPA, Fla.

Stat. § 559.55(6), and the FDCPA, 15 U.S.C. § 1692a(5).

      27.   Fla. Stat. § 687.071(3) renders extending credit with annual interest

rates greater than 25% a criminal offense.

      28.   Fla. Stat. § 687.071(7) renders any extension of credit, and any debt

stemming from such extension of credit, void and unenforceable.



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      29.     Any person who willfully makes such extension of credit, in addition

to subjecting themselves to criminal sanctions, forfeits the right to collect payment

for the extension of credit, as such extensions of credit are “void as against the

public policy of the state as established by its Legislature.” Richter Jewelry Co. v.

Schweinert, 169 So. 750, 758-59 (Fla. 1935).

      30.     Even the recovery of the principal balance made at usurious rates is

impermissible under Florida law. Rollins v. Odom, 519 So. 2d 652, 656 (Fla. Dist. Ct.

App. 1988).

      31.     Because the CreditFresh Account is subject to an annual interest rate

exceeding 25%, the balance is void ab initio and unenforceable under Florida law.

See Stubblefield v. Dunlap, 148 Fla. 401, 4 So.2d 519 (1941); Pushee v. Johnson, 123 Fla.

305, 166 So. 847 (1936); River Hills, Inc. v. Edwards, 190 So.2d 415 (Fla. 2d DCA 1966).

Richter Jewelry Co. v. Schweinert, 169 So. 750, 758-59 (Fla. 1935) (criminally usurious

loans are “void as against the public policy of the state as established by its

Legislature.”)

      32.     The balance on the CreditFresh Account is therefore an unlawful debt

per Fla. Stat. § 772.102(2)(a)(3).

              Propel Engages in Rent-a-Bank Scheme with CBW Bank

      33.     Formed in 2011, Propel Holdings, Inc. (“Propel”) is an Ontario,

Canada-based “FinTech” business which uses proprietary methods to make


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extensions of credit and loans to consumers at interest rates which are illegal in

most states, including Florida.

           34.     Propel’s two main products are CreditFresh and MoneyKey.

           35.     According to its Preliminary Prospectus dated September 29, 2021,

prepared in advance of its initial public offering of shares of stock on a publicly-

traded stock exchange, Propel has invested millions of dollars in developing

underwriting analytics.

           36.     Propel goes on to explain in its Preliminary Prospectus that it has a

$120 million line of credit which it controls, along with two Delaware Statutory

Trust entities called CreditFresh DST I and CreditFresh DST II.1

           37.     Propel explains this credit line provides “Propel with the debt capital

to continue to accelerate the growth and expansion of the credit offerings through

Propel’s platform” (i.e., CreditFresh and MoneyKey). Preliminary Prospectus, page

32.

           38.     Propel also refers to the $120 million line of credit as the “CreditFresh

Facility” and discloses to its investors that the lines of credit are “to be used to

fund the Company’s CreditFresh brand products.” Preliminary Prospectus, page

250.




1
    Both DSTs are beneficially owned by Propel.


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      39.    Propel warns its prospective investors that one of its potential

weaknesses could be a concentration of credit risk, “because substantially all of its

Loans and advances receivable balance is comprised of unsecured small dollar,

high interest/financing fee advances and loans to US customers with similar credit

characteristics.”

      40.    Propel takes a decidedly different tone in communications with

consumers.

      41.    Propel claims its CreditFresh loans are made by CBW Bank and that

CreditFresh is simply the servicer of the loans for its “bank partner,” CBW Bank.

      42.    However, CBW Bank has virtually nothing to do with loans Propel

makes utilizing the CreditFresh name – other than to lend its name and status as a

state-chartered bank to Propel, a non-bank entity.

      43.    Indeed, once the CreditFresh loan was made “by” CBW Bank to Mr.

Chapman, the loan was immediately sold by CBW Bank and assigned to Propel.

      44.    CBW Bank’s sole function in the loan process is to make it appear that

a bank is the true lender of CreditFresh accounts, even though CBW Bank has

virtually nothing to do with marketing, underwriting, or servicing the accounts.

      45.    Such deals are frequently referred to as “rent-a-bank” schemes.

      46.    As a chartered bank, CBW Bank is not subject to foreign state interest

rate limits pursuant to the National Bank Act. See 12 U.S.C. § 85.



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      47.      CBW Bank’s home state of Kansas generally considers interest rates

over 15% to be usurious; however, Kansas exempts certain types of loans from this

restriction, including “open-ended” lines of credit made by a bank.

      48.      Thus, by CBW Bank claiming to be the “true lender” of Mr.

Chapman’s loan, Propel and CBW Bank assert the loans are exempt from Florida’s

criminal and civil statutes prohibiting usury.

      49.      CBW Bank also “partners” with several other FinTechs to make

consumer loans.

      50.      CBW Bank offers no credit card products or other unsecured

consumer loans directly, and its consumer lending business is overwhelmingly

generated by its purported partnerships with entities like Propel.

      51.      In essence, Propel launders its CreditFresh loans through CBW Bank,

claiming that CBW Bank is the true lending entity, despite the fact the loans are

funded with a credit line controlled only by Propel and its subsidiaries,

underwritten and approved by Propel, collected by Propel, directly or via

contractors, and interest in the loan is assigned to Propel almost immediately after

origination.

      52.      Propel further indemnifies CBW Bank of any potential loss related to

the CreditFresh loans.




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      53.    Thus, for all intents and purposes, no capital belonging to CBW Bank

is ever actually at risk in the making of CreditFresh loans or extensions of credit.

      54.    Propel, and not CBW Bank, has the predominant economic interest in

loans made to consumers like Mr. Chapman.

      55.    As the entity with the predominant economic interest in the loan,

Propel, and not CBW Bank, was the true lender of Mr. Chapman’s CreditFresh

Account. See Fulford v. Marlette Funding, LLC, No. 17CV30376 and Fulford v. Avant

of Colorado, LLC, No. 17CV30377 (Colo. Dist. Ct. Denver County Aug. 13, 2018); see

also, e.g., State Bank v. Strong, 651 F.3d 1241 (11th Cir. 2011); Easter v. Am. W. Fin.,

381 F.3d 948, 957 (9th Cir. 2004); CFPB v. CashCall, Inc., No. CV 15-7522-JFW

(RAOx), 2016 WL 4820635 (C.D. Cal. Aug. 31, 2016); Penn v. Think Fin., Inc., No. 14-

cv-7139, 2016 WL 183289 (E.D. Pa. Jan. 14, 2016); Goleta Nat'l Bank v. Lingerfelt, 211

F. Supp. 2d 711 (E.D. N.C. 2002); CashCall, Inc. v. Morrisey, No. 12-1274, 2014 WL

2404300 (W. Va. May 30, 2014) (memorandum decision); Ubaldi v. SLM Corp., 852

F. Supp. 2d 1190 (N.D. Cal. 2012); and Eul v. Transworld Sys., No. 15 C 7755, 2017

WL 1178537 (N.D. Ill. Mar. 30, 2017).

      56.    Beyond this, Florida’s “usury statutes show clear legislative intent to

prevent accomplishment of a usurious scheme by indirection, and the concealment

of the needle of usury in a haystack of subterfuge.” Pinchuck vs. Canzoneri, 920 So.

2d 713, 715-16, (Fla. 4th DCA, 2006).



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      57.      On information and belief, CBW Bank collects a small, but

guaranteed, fee for each loan or extension of credit originated and receives a small

amount of the profits from CreditFresh loans as part of the rent-a-bank scheme

with Propel.

      58.      Consumers who are looking to obtain financing from CreditFresh

must apply at www.CreditFresh.com – not through CBW Bank’s own website.

      59.      Propel reports consumers’ accounts to the major Consumer Credit

Reporting Agencies (“CRAs”), including Trans Union, LLC (“Trans Union”). SEE

PLAINTIFF’S EXHIBIT B.

      60.      Tradeline data shows the address associated with the accounts is 200

Continental Drive, Suite 401, Newark, DE 19713 – an address which belongs to

Propel, not CBW Bank. Id.

               Huntington Purchases Illegal Debt; Assigns to Alliant

      61.      At some point after June 2020, Propel sold the CreditFresh Account to

Huntington, or some other successor-in-interest who then re-sold it to Huntington

(the “Debt”).

      62.      Upon information and belief, Huntington obtained Mr. Chapman’s

contact information, including his address, upon purchase of the Debt.

      63.      Huntington then hired Alliant as its agent to collect the Debt from Mr.

Chapman, or otherwise placed the Debt for collection with Alliant.


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         64.   Huntington provided Mr. Chapman’s contact information to Alliant.

         65.   Huntington and Alliant thus knew that Mr. Chapman was a Florida

resident.

         66.   Huntington obtained a breakdown of the balance of the Debt upon

purchase, which it provided to Alliant.

         67.   Huntington and Alliant thus knew, or should have known, that they

were collecting an illegal Debt from Mr. Chapman, as the interest rate clearly

exceeded any rate which could even be potentially legally enforceable in Florida.

         68.   Huntington purchases a significant number of unlawful debts

originally acquired from sources like CreditFresh - online lenders who make loans

at interest rates sometimes exceeding 500% annually, at a tiny fraction of face

value.

         69.   Huntington then assigns these debts to a number of different

collection agencies, including Alliant, Orion and Advanced, who then attempt to

collect the full face-value of such debts.

         70.   In an attempt to collect the Debt, Alliant made multiple phone calls,

mailed several collection letters, and sent several emails, including one dated

November 24, 2020 (the “Alliant Email”) to Mr. Chapman. SEE PLAINTIFF’S

EXHIBIT C.




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      71.      Alliant’s phone calls, letters, and emails to Mr. Chapman were

“communications” as defined by Fla. Stat. § 559.55(2).

      72.      Alliant’s phone calls, letters, and emails to Mr. Chapman were in

connection with the collection of the Debt.

      73.      At all times relevant to this matter, Alliant acted as Huntington’s

agent, on Huntington’s behalf, and under Huntington’s direction.

      74.      Huntington is liable for its own actions, as well as for the actions of

its agent, Alliant.

                  Huntington Assigns Debt to Advanced for Collection

      75.      At some point after November 2020, but prior to March 2021,

Huntington recalled the Debt from Alliant and hired Advanced as its agent to

collect the Debt from Mr. Chapman, or otherwise placed the Debt for collection

with Advanced.

      76.      Huntington provided Advanced with Mr. Chapman’s contact

information.

      77.      Advanced thus knew, or should have known, that Mr. Chapman was

a Florida resident.

      78.      Huntington likewise provided a breakdown of the Debt to Advanced.




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      79.      Huntington and Advanced thus knew, or should have known, that

they were collecting an illegal Debt from Mr. Chapman, as the interest rate clearly

exceeded any rate which could be potentially legally enforceable in Florida.

      80.      Advanced made multiple phone calls, sent several emails, and mailed

several collection letters, including one dated March 3, 2021 (the “Advanced

Letter”). SEE PLAINTIFF’S EXHIBIT D.

      81.      Advanced’s phone calls, letters, and emails to Mr. Chapman were

“communications” as defined by Fla. Stat. § 559.55(2).

      82.      Advanced’s phone calls, letters, and emails to Mr. Chapman were in

connection with the collection of the Debt.

      83.      At all times relevant to this matter, Advanced acted as Huntington’s

agent, on Huntington’s behalf, and under Huntington’s direction.

      84.      Huntington is liable for its own actions, as well as for the actions of

its agent, Advanced.

                 Huntington Assigns Debt to Orion for Collection

      85.      At some point after March 2021, but before July 2022, Huntington

recalled the Debt from Advanced and hired Orion as its agent to collect the Debt

from Mr. Chapman, or otherwise placed the Debt for collection with Orion.

      86.      Huntington    provided    Orion    with   Mr.    Chapman’s     contact

information.


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      87.    Orion thus knew, or should have known, that Mr. Chapman was a

Florida resident.

      88.    Huntington likewise provided a breakdown of the Debt to Orion.

      89.    Huntington and Orion thus knew, or should have known, that they

were collecting an illegal Debt from Mr. Chapman, as the interest rate clearly

exceeded any rate which could be potentially legally enforceable in Florida.

      90.    In an attempt to collect the Debt, Orion made multiple phone calls,

mailed several collection letters, and sent several emails, including one dated July

21, 2022 (the “First Orion Email”). SEE PLAINTIFF’S EXHIBIT E.

      91.    Orion stated in its Orion Email that, “We are trying to collect on a debt

that you owe to Huntington Debt Holdings, LLC.” Id.

      92.    On September 15, 2022 Orion sent a second email (the “Second Orion

Email”). SEE PLAINTIFF’S EXHIBIT F.

      93.    The Second Orion Email offered to settle the $2,587.06 Debt for

$1,293.53. Id.

      94.    Shortly after Mr. Chapman received the Second Orion Email, Mr.

Chapman contacted the undersigned legal counsel, as he believed legal action

against him may be imminent.

      95.    Orion’s phone calls, letters, and emails to Mr. Chapman were

“communications” as defined by 15 U.S.C. § 1692a(2) and Fla. Stat. § 559.55(2).



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      96.    Orion’s phone calls, letters, and emails to Mr. Chapman were in

connection with the collection of the Debt.

      97.    At all times relevant to this matter, Orion acted as Huntington’s agent,

on Huntington’s behalf, and under Huntington’s direction.

      98.    Huntington is liable for its own actions, as well as for the actions of

its agent, Orion.

      99.    As a result of the Defendants’ efforts to collect an illegal loan, Mr.

Chapman has suffered severe emotional distress and spent significant time and

energy trying to chart a path to respond to the Defendants’ collection, including

finding and engaging attorneys.

      100.   Mr. Chapman has hired the aforementioned law firm to represent him

in this matter and is obligated to pay its reasonable fees.

                                COUNT I
                 VIOLATIONS OF THE FDCPA – 15 U.S.C. § 1692e
                           Huntington & Orion

      101.   Mr. Chapman adopts and incorporates paragraphs 1 – 100 as if fully

stated herein.

      102.   Mr. Chapman’s CreditFresh Account charged interest at more than

double the rate which Florida deems criminal usury and is thus unenforceable.

      103.   Huntington & Orion violated § 1692e of the FDCPA, when Orion, as

an agent for Huntington, used false and deceptive representations in connection


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with the collection of a debt, indicating to Mr. Chapman that he owed the Debt,

when he did not, and deceptively labeling the Debt as though it was legal, valid,

and enforceable, when it was not.

      104.   Accordingly, Huntington & Orion are liable to Mr. Chapman for his

actual damages, statutory damages, costs, and attorney’s fees pursuant to 15

U.S.C. § 1692k.

      WHEREFORE, Mr. Chapman respectfully requests that this Honorable

Court enter judgment against Huntington and Orion, jointly and severally, for:

      a.     Statutory damages of $1,000.00 per defendant, pursuant to 15 U.S.C. §

             1692k(a)(2)(A);

      b.     Actual damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A);

      c.     Reasonable costs and attorneys’ fees pursuant to 15 U.S.C. §

             1692k(a)(3); and,

      d.     Such other relief that this Court deems just and proper.

                            COUNT II
             VIOLATIONS OF THE FDCPA – 15 U.S.C. § 1692f(1)
                        Huntington & Orion

      105.   Mr. Chapman adopts and incorporates paragraphs 1 – 100 as if fully

stated herein.

      106.   Mr. Chapman’s CreditFresh Account charged interest at more than

double the rate which Florida deems criminal usury and is thus unenforceable.


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      107.   Huntington and Orion violated 15 U.S.C. § 1692f(1) when Orion,

acting as Huntington’s agent, attempted to collect the Debt, when such Debt was

not permitted by law due to the application of interest rates well in excess of

Florida law. Accordingly, Huntington & Orion are liable to Mr. Chapman for his

actual damages, statutory damages, costs, and attorney’s fees pursuant to 15

U.S.C. § 1692k.

      WHEREFORE, Mr. Chapman respectfully requests that this Honorable

Court enter judgment against Huntington and Orion, jointly and severally, for:

      a.     Statutory damages of $1,000.00 per defendant, pursuant to 15 U.S.C. §

             1692k(a)(2)(A);

      b.     Actual damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A);

      c.     Reasonable costs and attorneys’ fees pursuant to 15 U.S.C. §

             1692k(a)(3); and,

      d.     Such other relief that this Court deems just and proper.

                             COUNT III
             VIOLATIONS OF THE FCCPA - FLA. STAT. § 559.72(9)
                            All Defendants

      108.   Mr. Chapman adopts and incorporates paragraphs 1 – 100 as if fully

stated herein.

      109.   The Defendants violated Fla. Stat. § 559.72(9) when they attempted to

collect the Debt, therein asserting the legal right to do so, when the Debt was illegal


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and unenforceable debt due to its unlawful interest rate, in violation of Fla. Stat. §

687.071, and no legal right to collect the Debt existed in Florida.

      110.   The Defendants’ conduct was willful and intentional, as the

Defendants knew, or should have known, that the Debt was unenforceable, based

on the breakdown of the Debt, Mr. Chapman’s contact information, and prior

lawsuits against each Defendant for similar conduct.

      111.   Accordingly, the Defendants are liable to Mr. Chapman for his actual

damages, statutory damages, costs, and attorney’s fees pursuant to Fla. Stat. §

559.77.

      WHEREFORE, Mr. Chapman respectfully requests this Honorable Court

enter judgment against the Defendants, jointly and severally, for:

      a.     Statutory damages of $1,000.00 per defendant pursuant to Fla. Stat. §

             559.77(2);

      b.     Actual damages pursuant to Fla. Stat. § 559.77(2);

      c.     Injunctive relief preventing the Defendants from attempting to collect

             the alleged debt from Mr. Chapman pursuant to Fla. Stat. § 559.77(2);

      d.     Reasonable costs and attorney’s fees pursuant to Fla. Stat. § 559.77(2);

             and,

      e.     Such other relief that this Court deems just and proper.




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                              COUNT IV
             VIOLATIONS OF THE CRCPA - FLA. STAT. § 772.103(4)
                          Huntington & Orion

      112.    Mr. Chapman adopts and incorporates paragraphs 1 – 100 as if fully

stated herein.

      113.    Mr. Chapman’s CreditFresh Account charged interest in excess of

25% and is thus an “unlawful debt” under the CRCPA, Fla. Stat. § 772.102(2)(a)(3).

      114.    Huntington regularly assigns accounts purchased from CreditFresh

to Orion for collection.

      115.    The two entities are thus “associated in fact” and amount to an

“enterprise” under Fla. Stat. § 772.102(3).

      116.    Huntington & Orion violated Fla. Stat. § 772.103(4) by conspiring with

each other to collect unlawful debts issued by CreditFresh.

      117.    Huntington & Orion both took actions in furtherance of this

conspiracy, including purchasing the Debt from CreditFresh, assigning it for

collection, authorizing and reviewing collection attempts, and attempting

collection from Mr. Chapman.

      118.    Huntington & Orion likewise were both aware of the overall objective

of the conspiracy, which was to collect unlawful debts issued by CreditFresh.

      119.    Accordingly, Huntington & Orion are liable to Mr. Chapman for

treble damages, costs, and attorney’s fees pursuant to Fla. Stat. § 772.104(1).



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           WHEREFORE, Mr. Chapman respectfully requests this Honorable Court

enter judgment against Huntington & Orion, jointly and severally, for:

      a.      Threefold the amount of actual damages or, in the alternate, the

              statutory minimum of $200, whichever is greater, pursuant to Fla.

              Stat. § 772.104(1);

      b.      Reasonable costs and attorneys' fees pursuant to Fla. Stat. § 772.104(1);

              and,

      c.      Any other relief this Court deems equitable and proper under the

              circumstances.

                              COUNT V
             VIOLATIONS OF THE CRCPA - FLA. STAT. § 772.103(4)
                          Huntington & Alliant

      120.    Mr. Chapman adopts and incorporates paragraphs 1 – 100 as if fully

stated herein.

      121.    Mr. Chapman’s CreditFresh Account charged interest in excess of

25% and is thus an “unlawful debt” under the CRCPA, Fla. Stat. § 772.102(2)(a)(3).

      122.    Huntington regularly assigns accounts purchased from CreditFresh

to Alliant for collection.

      123.    The two entities are thus “associated in fact” and amount to an

“enterprise” under Fla. Stat. § 772.102(3).




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      124.     Huntington & Alliant violated Fla. Stat. § 772.103(4) by conspiring

with each other to collect unlawful debts issued by CreditFresh.

      125.     Huntington & Alliant both took actions in furtherance of this

conspiracy, including purchasing the Debt from CreditFresh, assigning it for

collection, authorizing and reviewing collection attempts, and attempting

collection from Mr. Chapman.

      126.     Huntington & Alliant likewise were both aware of the overall

objective of the conspiracy, which was to collect unlawful debts issued by

CreditFresh.

      127.     Accordingly, Huntington & Alliant are liable to Mr. Chapman for

treble damages, costs, and attorney’s fees pursuant to Fla. Stat. § 772.104(1).

           WHEREFORE, Mr. Chapman respectfully requests this Honorable Court

enter judgment against Huntington & Alliant, jointly and severally, for:

      a.       Threefold the amount of actual damages or, in the alternate, the

               statutory minimum of $200, whichever is greater, pursuant to Fla.

               Stat. § 772.104(1);

      b.       Reasonable costs and attorneys' fees pursuant to Fla. Stat. § 772.104(1);

               and,

      c.       Any other relief this Court deems equitable and proper under the

               circumstances.



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                               COUNT VI
             VIOLATIONS OF THE CRCPA - FLA. STAT. § 772.103(4)
                         Huntington & Advanced

      128.     Mr. Chapman adopts and incorporates paragraphs 1 – 100 as if fully

stated herein.

      129.     Mr. Chapman’s CreditFresh Account charged interest in excess of

25% and is thus an “unlawful debt” under the CRCPA, Fla. Stat. § 772.102(2)(a)(3).

      130.     Huntington regularly assigns accounts purchased from CreditFresh

to Advanced for collection.

      131.     The two entities are thus “associated in fact” and amount to an

“enterprise” under Fla. Stat. § 772.102(3).

      132.     Huntington & Advanced violated Fla. Stat. § 772.103(4) by conspiring

with each other to collect unlawful debts issued by CreditFresh.

      133.     Huntington & Advanced both took actions in furtherance of this

conspiracy, including purchasing the Debt from CreditFresh, assigning it for

collection, authorizing and reviewing collection attempts, and attempting

collection from Mr. Chapman.

      134.     Huntington & Advanced likewise were both aware of the overall

objective of the conspiracy, which was to collect unlawful debts issued by

CreditFresh.




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      135.    Accordingly, Huntington & Advanced are liable to Mr. Chapman for

treble damages, costs, and attorney’s fees pursuant to Fla. Stat. § 772.104(1).

           WHEREFORE, Mr. Chapman respectfully requests this Honorable Court

enter judgment against Huntington & Advanced, jointly and severally, for:

      a.      Threefold the amount of actual damages or, in the alternate, the

              statutory minimum of $200, whichever is greater, pursuant to Fla.

              Stat. § 772.104(1);

      b.      Reasonable costs and attorneys' fees pursuant to Fla. Stat. § 772.104(1);

              and,

      c.      Any other relief this Court deems equitable and proper under the

              circumstances.




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                        DEMAND FOR JURY TRIAL

     Mr. Chapman hereby demands a trial by jury on all issues so triable.



Respectfully submitted on November 15, 2022, by:


                                                SERAPH LEGAL, P. A.

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                              EXHIBIT LIST

A    Mr. Chapman’s Truth in Lending Statement and Terms and Conditions,
     December 11, 2019 - Excerpts
B    Credit Fresh’s Tradeline Data Example - Excerpt
C    Alliant’s Email to Mr. Chapman, November 24, 2020 - Excerpt
D    Advanced’s Letter to Mr. Chapman, March 3, 2021 - Excerpt
E    Orion’s First Email to Mr. Chapman, July 21, 2022 - Excerpt
F    Orion’s Second Email to Mr. Chapman, September 15, 2022 - Excerpt




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